               Case 2:16-cv-02962-RFB-VCF Document 1 Filed 12/21/16 Page 1 of 10




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10

11                                      UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF NEVADA
12

13   STEWART ABRAMSON, individually and
     on behalf of all others similarly situated,                  NO. 2:16-cv-2962
14
                                 Plaintiff,                       CLASS ACTION COMPLAINT FOR
15                                                                DAMAGES AND INJUNCTIVE RELIEF
                v.
16
     SPERIAN ENERGY CORP, a Nevada
17   corporation,
18
                                 Defendant.
19

20

21              Plaintiff Stewart Abramson (hereinafter “Plaintiff”), by his undersigned counsel, for this
22   class action complaint against Sperian Energy Corp (“Sperian Energy”), and its present, former,
23
     or future direct and indirect parent companies, subsidiaries, affiliates, agents, and/or other related
24
     entities (“Sperian Energy” or “Defendant”), alleges as follows:
25

26
27   1
         Massachusetts counsel will comply with LR IA 11-2 and move for pro hac vice admission within 45 days.




     CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF - 1
            Case 2:16-cv-02962-RFB-VCF Document 1 Filed 12/21/16 Page 2 of 10



                                            I.     INTRODUCTION
 1
             1. Nature of Action. Plaintiff, individually and as class representative for all others
 2
     similarly situated, brings this action against Sperian Energy for violations of the Telephone
 3
     Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).
 4

 5                                               II.   PARTIES
             2. Plaintiff Stewart Abramson (“Plaintiff”) is a resident of Pennsylvania.
 6
             3. Defendant Sperian Energy Corp is a Nevada corporation with its principal place of
 7
     business in Las Vegas, NV, with a registered agent of Sackett National Holdings, Inc., 7373 Peak
 8
     Dr., Suite 250, Las Vegas, NV.
 9

10                                III.    JURISDICTION AND VENUE

11           4. Subject Matter Jurisdiction. This Court has subject matter jurisdiction over Plaintiff’s

12   TCPA claims pursuant to 28 U.S.C. § 1331 because Plaintiff’s TCPA claims arise under the laws

13   of the United States, specifically 47 U.S.C. § 227. Furthermore, this Court has original

14   jurisdiction over Plaintiff’s claims pursuant to the “Class Action Fairness Act,” 28 U.S.C. §§

15   1332(d), 1435. While it is anticipated that neither Plaintiff nor any individual class member’s

16   claims exceeds $75,000, the aggregate amount in controversy for the Class exceeds $5 million

17   exclusive of interest and costs, and Plaintiff is a citizen of a different state from Defendant.

18           5. Personal Jurisdiction. This Court has personal jurisdiction over Sperian Energy

19   because it has submitted to Nevada jurisdiction by registering with the Secretary of State to do

20   business in this state, and a substantial part of the wrongful acts alleged in this Complaint were

21   committed from Nevada.

22           6. Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1) because

23   the Defendant is a resident of this District. Venue is also proper in this District under 28 U.S.C. §

24   1391(b)(2) because a substantial part of the events giving rise to Plaintiff’s claims occurred in

25   this District, whereas the telemarketing calls that are the subject of this Complaint were sent

26   from this district.

27



     CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF - 2
             Case 2:16-cv-02962-RFB-VCF Document 1 Filed 12/21/16 Page 3 of 10



       IV.    THE TELEPHONE CONSUMER PROTECTION ACT OF 1991 47 U.S.C. § 227
 1
             7. In 1991, Congress enacted the TCPA in response to a growing number of consumer
 2
     complaints regarding certain telemarketing practices.
 3
             8. The TCPA makes it unlawful “to initiate any telephone call to any residential
 4
     telephone line using an artificial or prerecorded voice to deliver a message without the prior
 5
     express consent of the called party.” See 47 U.S.C. § 227(b)(1)(B). The TCPA provides a private
 6
     cause of action to persons who receive calls in violation of 47 U.S.C. § 227(b). See 47 U.S.C. §
 7
     227(b)(3).
 8
             9. In 2013, the FCC required prior express written consent for all autodialed or
 9
     prerecorded telemarketing calls (“robocalls”) to wireless numbers and residential lines.
10
     Specifically, it ordered that:
11
                     [A] consumer’s written consent to receive telemarketing robocalls
12                   must be signed and be sufficient to show that the consumer: (1)
                     received “clear and conspicuous disclosure” of the consequences
13                   of providing the requested consent, i.e., that the consumer will
                     receive future calls that deliver prerecorded messages by or on
14                   behalf of a specific seller; and (2) having received this information,
                     agrees unambiguously to receive such calls at a telephone number
15                   the consumer designates.[] In addition, the written agreement must
                     be obtained “without requiring, directly or indirectly, that the
16                   agreement be executed as a condition of purchasing any good or
                     service.[]”
17
     In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,
18
     27 F.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted).
19

20                                    V.   FACTUAL ALLEGATIONS
     A.      Factual Allegations Regarding Sperian Energy
21
             10. Sperian Energy is a “retail energy provider that focuses on…six deregulated energy
22
     markets.” See http://www.sperianenergy.com (last visited December 2, 2016).
23
             11. Sperian Energy services the following states: Illinois, New York, Pennsylvania New
24
     Jersey, Maryland and Ohio. Id.
25
             12. Sperian Energy’s business model relies on contacting current energy customers in
26
     those states and convincing them to have their energy serviced through Sperian.
27



     CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF - 3
              Case 2:16-cv-02962-RFB-VCF Document 1 Filed 12/21/16 Page 4 of 10




 1            13. One of Sperian Energy’ strategies for marketing these services involves the use of
 2   pre-recorded messages to solicit business.
 3            14. Recipients of these calls, including Plaintiff, did not consent to receive such telephone
 4   calls.
 5            15. Instead they are “cold calls”, and utilize a pre-recorded message because they are
 6   transmitted en masse.
 7            16. By using the pre-recorded messages, Sperian’s telemarketers only contact individuals
 8   who have responded to the pre-recorded message.
 9            17. Unfortunately, this system, while efficient for Sperian Energy, comes at the expense
10   of the call recipients’ privacy, and is exactly the kind of telemarketing that the TCPA was passed
11   to prevent.
12   B.       Factual Allegations Regarding Plaintiff
13            18. Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47 U.S.C.
14   § 153(39).
15            19. On October 28, 2016, the Plaintiff received a call from Sperian Energy on his
16   residential telephone line, 412-361-XXXX.
17            20. The caller ID showed the telephone call was from 412-465-1131.
18            21. Upon information and belief, Sperian Energy does not have a Pennsylvania office.
19            22. As a result, Sperian Energy is believed to have intentionally manipulated the Caller
20   ID information on the pre-recorded phone call so it would appear to be coming from a local
21   business.
22            23. In fact, that telephone number is used by Sperian Energy for en masse “cold call”
23   telemarketing.
24            24. When a telephone call is placed to that number, a message is played about providing
25   further information if the caller desires to be placed on the “internal do not call list”.
26            25. No company is identified when that message is played.
27



     CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF - 4
            Case 2:16-cv-02962-RFB-VCF Document 1 Filed 12/21/16 Page 5 of 10




 1          26. When the call was answered, there was a lengthy pause and a click followed by
 2   silence and a pre-recorded message played about the “Energy Choice Program”, and instructed
 3   the call recipient to call 412-430-0004 to receive more information.
 4          27. In an attempt to determine the identity of the caller, Mr. Abramson called the number.
 5          28. Mr. Abramson spoke with an individual named “Edward” who identified that he was
 6   with Sperian Energy.
 7          29. Plaintiff did not provide his prior express written consent to receive prerecorded calls
 8   on his telephone from, or on behalf of, Sperian Energy.
 9          30. In fact, in 2015, the Plaintiff had previously sued Sperian Energy for using automated
10   dialing to contact his telephone number.
11          31. Plaintiff’s privacy has been violated by the above-described calls from, or on behalf
12   of, Sperian Energy, and they constitute a nuisance as they are annoying and harassing.
13          32. Sperian Energy is responsible for making the above-described prerecorded calls.
14          33. Plaintiff and all members of the Class, defined below, have been harmed by the acts
15   of Sperian Energy because their privacy has been violated, they were subjected to annoying and
16   harassing calls that constitute a nuisance, and they were invasive of their privacy. The calls also
17   occupied Plaintiff’s telephone line from legitimate communication.
18   C.     Factual Allegations Regarding Additional Consumer and Regulatory Complaints
19          34. Unfortunately, Plaintiff’s experience with Sperian Energy is not unique, as many
20   others have lodged similar complaints after having received telemarketing calls from Sperian
21   Energy.
           35. Sperian has previously been investigated for its telemarketing practices in 2015 when
22

23   the Illinois Commerce Commission (ICC) launched an investigation (Docket No. 15-0438) into

24   the allegedly misleading and deceptive telemarketing practices of Sperian Energy.

25

26
27



     CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF - 5
              Case 2:16-cv-02962-RFB-VCF Document 1 Filed 12/21/16 Page 6 of 10



              36. For example, the website http://www.revdex.com/reviews/sperian-energy/1041091
 1

 2   (last visited December 2, 2016), details a number of complaints related to Sperian Energy’s

 3   illegal telemarketing:

 4            This company contacted me through outbound telemarketing in violation of the federal
              Do Not Call act. Additionally, the message intentionally misleading, indicating that I had
 5
              some business relationship with them and I need to call about my account.
 6
              Timothy D. March 30, 2016
 7
              Complaint: Sperian Energy contacted me by telephone on 1/29/14 at 9:00am EST with a
 8            sales pitch. My phone number is listed in the Federal Do-Not-Call Registry.
 9            Reviewer1041115 March 26, 2016
10                                   VI.    CLASS ACTION ALLEGATIONS
11            37. Class Definition. Pursuant to FRCP 23(b)(2) and (b)(3), Plaintiff brings this case as a
12   class action on behalf of a National Class defined as follows:
13                   All persons to whom: (a) Sperian Energy and/or a third party
                     acting on Sperian Energy’ behalf, made one or more non-
14                   emergency telephone calls; (b) promoting Sperian Energy’
                     products or services; (c) to their residential telephone number; (d)
15                   through the use of an artificial or prerecorded voice; and (e) at any
                     time in the period that begins four years before the date of filing
16                   this Complaint to trial.
17   Excluded from Class are Sperian Energy, any entity in which Sperian Energy has a controlling
18   interest or that has a controlling interest in Sperian Energy, and Sperian Energy’ legal
19   representatives, assignees, and successors. Also excluded are the judge to whom this case is
20   assigned and any member of the judge’s immediate family.
21            38. Numerosity. The Class is so numerous that joinder of all members is impracticable.
22   On information and belief, the Class has more than 100 members. Moreover, the disposition of
23   the claims of the Class in a single action will provide substantial benefits to all parties and the
24   Court.
25

26
27



     CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF - 6
               Case 2:16-cv-02962-RFB-VCF Document 1 Filed 12/21/16 Page 7 of 10




 1             39. Commonality. There are numerous questions of law and fact common to Plaintiff and
 2   members of the Class. These common questions of law and fact include, but are not limited to,
 3   the following:
 4                    a.      Whether Sperian Energy and/or its affiliates, agents, and/or other persons
 5   or entities acting on Sperian Energy’s behalf violated 47 U.S.C. § 227(b) by making any call,
 6   except for emergency purposes, to a residential telephone line using a pre-recorded message;
 7                    b.      Whether Sperian Energy and/or its affiliates, agents, and/or other persons
 8   or entities acting on Sperian Energy’s behalf obtained prior express written consent prior to
 9   making the calls at issue;
10                    c.      Whether Sperian Energy and/or its affiliates, agents, and/or other persons
11   or entities acting on Sperian Energy’s behalf should be enjoined from violating the TCPA in the
12   future.
13             40. Typicality. Plaintiff’s claims are typical of the claims of the Class. Plaintiff’s claims,
14   like the claims of the Class arise out of the same common course of conduct by Sperian Energy
15   and are based on the same legal and remedial theories.
16             41. Adequacy. Plaintiff will fairly and adequately protect the interests of the Class.
17   Plaintiff has retained competent and capable attorneys with significant experience in complex
18   and class action litigation, including consumer class actions and TCPA class actions. Plaintiff
19   and its counsel are committed to prosecuting this action vigorously on behalf of the Class and
20   have the financial resources to do so. Neither Plaintiff nor its counsel has interests that are
21   contrary to or that conflict with those of the proposed Class.
22             42. Predominance. Sperian Energy has engaged in a common course of conduct toward
23   Plaintiff and members of the Class. The common issues arising from this conduct that affect
24   Plaintiff and members of the Class predominate over any individual issues. Adjudication of
25   these common issues in a single action has important and desirable advantages of judicial
26   economy.
27



     CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF - 7
            Case 2:16-cv-02962-RFB-VCF Document 1 Filed 12/21/16 Page 8 of 10




 1          43. Superiority. A class action is the superior method for the fair and efficient
 2   adjudication of this controversy. Classwide relief is essential to compel Sperian Energy to
 3   comply with the TCPA. The interest of individual members of the Class in individually
 4   controlling the prosecution of separate claims against Sperian Energy is small because the
 5   damages in an individual action for violation of the TCPA are small. Management of these
 6   claims is likely to present significantly fewer difficulties than are presented in many class claims
 7   because the calls at issue are all automated. Class treatment is superior to multiple individual
 8   suits or piecemeal litigation because it conserves judicial resources, promotes consistency and
 9   efficiency of adjudication, provides a forum for small claimants, and deters illegal activities.
10   There will be no significant difficulty in the management of this case as a class action.
11          44. Injunctive and Declaratory Relief is Appropriate. Sperian Energy has acted on
12   grounds generally applicable to the Class, thereby making final injunctive relief and
13   corresponding declaratory relief with respect to the Class appropriate on a classwide basis.
14                               VII.   FIRST CLAIM FOR RELIEF
15         (Violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227(b)(1)(A))
            45. Plaintiff realleges and incorporates by reference each and every allegation set forth in
16
     the preceding paragraphs.
17
            46. The foregoing acts and omissions of Sperian Energy and/or its affiliates, agents,
18
     and/or other persons or entities acting on Sperian Energy’s behalf constitute numerous and
19
     multiple violations of the TCPA, 47 U.S.C. § 227(b)(1)(B), by making calls, except for
20
     emergency purposes, to the residential telephone numbers of Plaintiff and members of the Class
21
     using an artificial or prerecorded voice.
22
            47. As a result of Sperian Energy’s and/or its affiliates, agents, and/or other persons or
23
     entities acting on Sperian Energy’ behalf’s violations of the TCPA, 47 U.S.C. § 227(b)(1)(B),
24
     Plaintiff and members of the Class presumptively are entitled to an award of $500 in damages for
25
     each and every call made to their residential telephone line using an artificial or prerecorded
26
     voice in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).
27



     CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF - 8
            Case 2:16-cv-02962-RFB-VCF Document 1 Filed 12/21/16 Page 9 of 10




 1          48. Plaintiff and members of the Class are also entitled to and do seek injunctive relief
 2   prohibiting Sperian Energy and/or its affiliates, agents, and/or other persons or entities acting on
 3   Sperian Energy’s behalf from violating the TCPA by making any calls using an artificial or
 4   prerecorded voice in the future.
 5                         VIII.    SECOND CLAIM FOR RELIEF
 6    (Knowing and/or Willful Violations of the Telephone Consumer Protection Act, 47 U.S.C.
                                          § 227(b)(1)(A))
 7
            49. Plaintiff realleges and incorporates by reference each and every allegation set forth in
 8
     the preceding paragraphs.
 9
            50. The foregoing acts and omissions of Sperian Energy and/or its affiliates, agents,
10
     and/or other persons or entities acting on Sperian Energy’s behalf constitute numerous and
11
     multiple violations of the TCPA, 47 U.S.C. § 227(b)(1)(B), by making calls, except for
12
     emergency purposes, to the residential telephone numbers of Plaintiff and members of the Class
13
     using an artificial or prerecorded voice.
14
            51. As a result of Sperian Energy’s and/or its affiliates, agents, and/or other persons or
15
     entities acting on Sperian Energy’s behalf’s knowing and/or willful violations of the TCPA, 47
16
     U.S.C. § 227(b)(1)(B), by making calls, except for emergency purposes, to the residential
17
     telephone numbers of Plaintiff and members of the Class using an artificial or prerecorded voice.
18
     Plaintiff and members of the Class are entitled to treble damages of up to $1,500 for each and
19
     every call made advertising goods or services to their residential telephone line, pursuant to 47
20
     U.S.C. § 227(b)(3).
21
                                        IX.   PRAYER FOR RELIEF
22
            WHEREFORE, Plaintiff, on his own behalf and on behalf of all members of the Class,
23
     prays for judgment against Sperian Energy as follows:
24
            A.      Certification of the proposed Class;
25
            B.      Appointment of Plaintiff as representative of the Class;
26
            C.      Appointment of the undersigned counsel as counsel for the Class;
27



     CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF - 9
           Case 2:16-cv-02962-RFB-VCF Document 1 Filed 12/21/16 Page 10 of 10




 1          D.        A declaration that Sperian Energy and/or its affiliates, agents, and/or other related
 2   entities’ actions complained of herein violate the TCPA;
 3          E.        An order enjoining Sperian Energy and/or its affiliates, agents, and/or other
 4   related entities, as provided by law, from engaging in the unlawful conduct set forth herein;
 5          F.        An award to Plaintiff and the Class of damages, as allowed by law;
 6          G.        An award to Plaintiff and the Class of attorneys’ fees and costs, as allowed by law
 7   and/or equity;
 8          H.        Leave to amend this Complaint to conform to the evidence presented at trial; and
 9          I.        Orders granting such other and further relief as the Court deems necessary, just,
10   and proper.
11                                       X.     DEMAND FOR JURY
12          Plaintiff demands a trial by jury for all issues so triable.
13

14          RESPECTFULLY SUBMITTED AND DATED this 21st day of December, 2016.
15

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     CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF - 10
